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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF INDIANA
                                 INDIANAPOLIS DIVISION

 BRIAN ELKINS and ANNIE ELKINS,                        )
 Individually, and on behalf of all others             )
 similarly situated,                                   )
                                                       )
                        Plaintiffs,                    )
                                                       )
 v.                                                    )   Case No. 1:23-cv-1117-JRS-TAB
                                                       )
 SOUTHEASTERN INDIANA HEALTH                           )
 MANAGEMENT INC. D/B/A COLUMBUS                        )
 REGIONAL HEALTH,                                      )
                                                       )
                        Defendant.                     )

                                      MOTION FOR REMAND

        Plaintiffs Brian Elkins and Annie Elkins, Individually and on behalf of all others

 similarly situated, ask this Court to remand this action to the Marion County, Indiana, Superior

 Court because this Court lacks subject-matter jurisdiction. As shown in greater detail in the

 supporting brief filed with this motion, the Defendant hospital was not acting under a federal

 officer when it installed tracking technology on its website and this case is not one of the “slim

 category of cases” where state law claims are deemed to “arise under” federal law under Gunn v.

 Minton, 568 U.S. 251, 258 (2013) and Grable & Sons Metal Products, Inc. v. Darue Engineering

 & Manufacturing, 545 U.S. 308 (2005). In further support of this motion, Plaintiffs state:


        1.      On May 23, 2023, Plaintiffs filed their complaint in the Marion Superior Court,

 Commercial Court. ECF No. 1-2.

        2.      The Complaint alleged state law claims for Breach of Implied Contract (Count I);

 Unjust Enrichment (Count II); Violation of the Indiana Deceptive Consumer Sales Act (Count

 III); and Violation of the Indiana Wiretapping Act (Count IV).
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          3.        On June 26, 2023, despite acknowledging that the Complaint “only asserts state-

 law claims. . . ,” ECF No. 1 at 12, ¶ 43, Defendant removed the action to this Court, asserting

 removal was proper under 28 U.S.C. § 1442 because Defendant claims to have acted under a

 federal officer, and under 28 U.S.C. § 1441 because, Defendant asserts, Plaintiff’s state law

 claims “arise under” federal law.

          4.        As shown in the supporting brief filed with this motion, neither of those bases are

 correct.

          5.        Because Defendant’s motion was entirely frivolous, Plaintiffs request this court

 award attorneys’ fees pursuant to 28 U.S.C. § 1447(c).

          THEREFORE, Plaintiff asks this Court to remand this case to state court for lack of

 subject matter jurisdiction.

          Dated: July 26, 2023                    Respectfully submitted,


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                                 CERTIFICATE OF SERVICE
        I certify that a copy of this document was filed electronically on July 26, 2023 with the
 Clerk of Court using the CM/ECF system. Notice of this filing will be sent to all counsel of record
 by operation of the Court’s electronic filing system.


                                              /s/Mary Kate Dugan
                                              Mary Kate Dugan




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